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                                     5
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                                     9

                                    10   Attorneys for Defendant Brandon Dorfman

                                    11                                UNITED STATES DISTRICT COURT
2029 Century Park East, Suite 800




                                                                   NORTHERN DISTRICT OF CALIFORNIA
  Los Angeles, CA 90067-2909




                                    12
    Telephone: 424.204.4400
       Ballard Spahr LLP




                                    13                                         SAN JOSE DIVISION

                                    14   PEAK HEALTH CENTER,                             Case No. 19-cv-04145-VKD

                                    15                                Plaintiff,         Declaration of Matthew S.L. Cate in
                                                                                         Support of Defendant Brandon Dorfman’s
                                    16          v.                                       Motion for Attorneys’ Fees Pursuant to Cal.
                                                                                         Civ. Proc. Code § 425.16(c)
                                    17   BRANDON DORFMAN,
                                                                                         Date:      April 14, 2020
                                    18                                Defendant.         Time:      10:00 a.m.
                                                                                         Judge:     Hon. Virginia K. DeMarchi
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                                                     Cate Decl. I/S/O Def.’s Mot. for Attorneys’ Fees / Case No. 19-04145-VKD
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 1           I, Matthew S.L. Cate, declare as follows:

 2           1.      I am an associate at Ballard Spahr LLP, counsel for Defendant Brandon Dorfman

 3   in this action. I make this declaration in support of Mr. Dorfman’s Motion for Attorneys’ Fees

 4   Pursuant to Cal. Civ. Proc. Code § 425.16(c). I have personal knowledge of the facts set forth

 5   below (except as to matters stated on information and belief, which I am informed and believe to

 6   be true), and if called upon to do so, could and would testify competently to them.

 7           2.      Before joining Ballard Spahr on November 26, 2019, I was a senior associate at

 8   Farella Braun + Martel LLP (“Farella”) in San Francisco. For 2019, my hourly rate at Farella was

 9   $575.

10           3.      Starting in early July 2019, I represented Mr. Dorfman in connection with the

11   lawsuit that Bomi Joseph filed against Mr. Dorfman in Los Angeles Superior Court in May 2019.

12           4.      Mr. Dorfman had contacted the Electronic Frontier Foundation (“EFF”) seeking

13   pro bono legal help defending against Mr. Joseph’s action. As a member of the EFF’s Cooperating

14   Attorneys list, see https://www.eff.org/pages/legal-assistance#coopatty, I offered to help defend

15   Mr. Dorfman without cost to him (or to the EFF).

16           5.      Farella and I successfully represented Mr. Dorfman against Mr. Joseph’s claims, all

17   of which Mr. Joseph voluntarily dismissed in response to a demurrer.

18           6.      Meanwhile, shortly before Mr. Joseph dismissed his suit, Peak Health filed this

19   action. Farella and I agreed to continue to represent Mr. Dorfman pro bono in this case.

20           7.      While working on this case, including while at Farella, I contemporaneously

21   tracked the time I spent working on the state court suit and this action by using the firm’s time-

22   tracking software. I tracked the time spent on the two separate lawsuits under different matter

23   numbers. As a result, no time spent working to defend Mr. Dorfman against Mr. Joseph’s state-

24   court suit was counted as time spent working on this matter.

25           8.      I have received and reviewed the time entries I submitted while working on this

26   case while at Farella. I spent well over 80 hours reviewing the initial complaint and First Amended

27   Complaint (“FAC”), conferring with Mr. Dorfman and the supervising partner about strategy and

28   with opposing counsel about the initial complaint and case-management issues, developing
                                                       2
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 1   defenses to the FAC and conducting legal research in support of Mr. Dorfman’s defenses,

 2   preparing the motion to dismiss and anti-SLAPP motion to strike the FAC, and participating in the

 3   hearing on those motions.

 4           9.         The day that Peak Health filed its Second Amended Complaint (“SAC”), I joined

 5   Ballard Spahr as an associate in its Media & Entertainment Group and joined its Washington,

 6   D.C., office. Because I was the lawyer most familiar with this case, Mr. Dorfman, Ballard Spahr,

 7   and I all agreed that Ballard Spahr would substitute for Farella as Mr. Dorfman’s pro bono counsel

 8   for this matter.

 9           10.        Ballard Spahr’s Media & Entertainment Group focuses almost exclusively on

10   representing clients (predominantly news and entertainment media, but other publishers as well) in

11   defamation, privacy, newsgathering, access and related First Amendment matters. See

12   https://www.ballardspahr.com/practiceareas/practices/media-entertainment-law. The lawyers in

13   our group have earned a national reputation for the quality of legal services we provide to clients in

14   this area. U.S. News & World Report named the group as “Law Firm of the Year” for First

15   Amendment Litigation in 2020, one year after granting it the same recognition in its Media Law

16   and Copyright Law categories. Law360 honored the group the “Practice Group of the Year” for

17   Media & Entertainment in 2017. Our team of more than 50 lawyers have represented clients

18   asserting their rights under the anti-SLAPP statutes of jurisdictions across the United States,

19   including California, Florida, Illinois, Nevada, New York, Oregon, and Washington, D.C.

20           11.        I was the lawyer in our group primarily responsible for the representation of Mr.

21   Dorfman. A former journalist, I am a 2013 magna cum laude graduate of the University of

22   California, Hastings College of the Law. While I now focus exclusively on media and First

23   Amendment issues, my litigation experience crosses a range of practice areas—products liability,

24   commercial litigation, antitrust and securities, and construction-related matters—in state and

25   federal courts in California, Texas, Oklahoma, Florida, and more. Additional information about

26   my background is available at https://www.ballardspahr.com/people/attorneys/cate-matthew.

27           12.        After I joined Ballard Spahr, my work on this case was supervised by Robert S.

28   Gutierrez, also a member of Ballard Spahr’s Media & Entertainment Group. Mr. Gutierrez is a
                                                        3
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 1   1989 graduate of Stanford Law School and has spent more than 30 years in private practice

 2   defending defamation, right-of-publicity, and related tort claims. Additional information about his

 3   background is available at https://www.ballardspahr.com/people/attorneys/gutierrez-robert.

 4            13.      Ryan Relyea is a paralegal and trial specialist at Ballard Spahr who works with the

 5   Media & Entertainment Group. He has more than 15 years of experience, and he helped us with

 6   several filing-related tasks in support of Mr. Dorfman’s motion to dismiss and anti-SLAPP motion

 7   to strike Peak Health’s SAC.

 8            14.      The rates sought in this motion are:
 9                        Attorney/Paralegal           2019 Hourly Rate 2020 Hourly Rate
                    Robert S. Gutierrez, Of Counsel    $725             $725
10                  Matthew S.L. Cate, associate       $475             $540
                    Ryan R. Relyea, paralegal          $280             $280
11

12            15.      I, Mr. Gutierrez, and Mr. Relyea all tracked and contemporaneously entered the
13   time we spent working on this case through the firm’s time-tracking software. I have personally
14   reviewed all of the time entries submitted in this case. A true and correct copy of the entries we are
15   submitting in support of this motion is attached to this declaration as Exhibit 1. Certain entries
16   reflected attorney-client privileged information, so I have redacted such information from Exhibit
17   1. The time entries include narrative descriptions of the work performed during each identified
18   period, and I have separated them in chronological order by timekeeper. The entries reflect the
19   following totals:
20                    Attorney/Paralegal                 Total Hours           Total Fees
               Robert S. Gutierrez, Of Counsel               20.4                 $14,790.00
21             Matthew S.L. Cate, associate                  85.2                $41,822.001
               Ryan R. Relyea, paralegal                      4.9                  $1,372.00
22
                                                            110.5                 $57,984.00
23            16.      The time recorded in Exhibit 1 reflects the efforts spent (1) reviewing Peak Health’s
24   pleadings, the parties’ prior briefing and related materials on Mr. Dorfman’s first motion to strike
25   and motion to dismiss, the Court’s order on those motions, and Peak Health’s opposition to Mr.
26   Dorfman’s second motion to strike and motion to dismiss; (2) conducting legal research governing
27
     1
         As noted above, my hourly rate increased in January 2020.
28
                                                         4
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 1   the claims and defenses at issue in support of the motions; (3) drafting the motion to strike (and

 2   nearly mirror-image motion to dismiss) and reply brief in support of same; and (4) preparing for

 3   and participating in the hearing on the motions; and (5) reviewing the order granting the motions.

 4          17.      The motion also seeks to recover fees incurred in preparing the motion for fees. I

 5   spent at least 11.5 hours researching, drafting, and finalizing the motion and supporting materials

 6   for filing. Mr. Gutierrez spent 2.4 hours reviewing and editing the materials. Accordingly, this

 7   portion of the request breaks down as follows:

 8                  Attorney/Paralegal                 Total Hours           Total Fees
             Robert S. Gutierrez, Of Counsel               2.4                   $1,740.00
 9           Matthew S.L. Cate, associate                 11.5                   $6,210.00
                                                          13.9                      $7,950
10
            18.      Accordingly, the total amount of fees requested in this motion is $65,934.
11
            I declare under penalty of perjury under the laws of the United States of America that the
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     foregoing is true and correct. Executed this 9th day of March, 2020, in Washington, District of
13
     Columbia.
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                  EXHIBIT 1
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Work Date Attorney/Paralegal                                           Narrative                                  Hrs. Rate    Amount
 12/3/2019 Cate, Matthew     Review and analyze second amended complaint.                                         0.70 475.00 $ 332.50
                             Conduct legal research in support of response to amended complaint.                  1.20 475.00 $ 570.00
 12/5/2019 Cate, Matthew     Further analyze second amended complaint                                             0.50 475.00 $ 237.50
 12/5/2019 Cate, Matthew     Confer with B. Dorfman                                                               0.50 475.00 $ 237.50
                                           .
 12/5/2019 Cate, Matthew     Conduct legal research in support of motions.                                        1.40 475.00 $ 665.00
 12/6/2019 Cate, Matthew     Conduct legal research in support of response to second amended complaint.           3.90 475.00 $ 1,852.50
 12/9/2019 Cate, Matthew     Conduct legal research in support of response to second amended complaint.           1.90 475.00 $ 902.50
12/10/2019 Cate, Matthew     Conduct legal research in support of motions to dismiss/strike.                      2.60 475.00 $ 1,235.00
12/10/2019 Cate, Matthew     Begin draft of motion to strike/motion to dismiss.                                   3.20 475.00 $1,520.00
12/10/2019 Cate, Matthew     Confer with R. Gutierrez about motion strategy.                                      0.50 475.00 $ 237.50
12/11/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 4.70 475.00 $2,232.50
                             of same.
12/12/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 3.60 475.00 $1,710.00
                             of same.
12/13/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 8.60 475.00 $4,085.00
                             of same.
12/14/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 7.30 475.00 $3,467.50
                             of same.
12/15/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 9.40 475.00 $4,465.00
                             of same.
12/16/2019 Cate, Matthew     Draft and revise motions to dismiss/strike SAC and conduct legal research in support 6.90 475.00 $3,277.50
                             of same.
12/16/2019 Cate, Matthew     Confer with R. Gutierrez and staff about motions and filing.                         0.30 475.00 $ 142.50
12/16/2019 Cate, Matthew     Attempt to confer with opposing counsel about hearing date.                          0.20 475.00 $ 95.00
12/17/2019 Cate, Matthew     Finalize motions to dismiss/strike SAC and conduct legal research in support of      6.10 475.00 $2,897.50
                             same.
12/17/2019 Cate, Matthew     Confer with B. Dorfman                          .                                    0.20 475.00 $ 95.00
12/17/2019 Cate, Matthew     Coordinate and supervise filing of motions.                                          0.70 475.00 $ 332.50
  1/3/2020 Cate, Matthew     Review and analyze Peak Health briefs in opposition to motion to dismiss and motion 0.50 540.00 $ 270.00
                             to strike.
  1/3/2020 Cate, Matthew     Conduct legal research in support of reply brief.                                    0.60 540.00 $ 324.00
  1/3/2020 Cate, Matthew     Confer with R. Gutierrez about Peak Health oppositions and reply brief strategy.     0.20 540.00 $ 108.00
  1/6/2020 Cate, Matthew     Draft and revise draft reply brief in support of dispositive motions.                4.70 540.00 $2,538.00
  1/6/2020 Cate, Matthew     Confer with B. Dorfman                      .                                        0.30 540.00 $ 162.00
  1/7/2020 Cate, Matthew     Draft and finalize draft reply brief in support of motion to strike/dismiss.         3.80 540.00 $ 2,052.00
  1/7/2020 Cate, Matthew     Confer with R. Gutierrez and B. Dorfman                               .              0.20 540.00 $ 108.00
  1/7/2020 Cate, Matthew     Coordinate and supervise filing of reply.                                            0.60 540.00 $ 324.00
 1/20/2020 Cate, Matthew     Prepare for motion hearing.                                                          7.40 540.00 $3,996.00
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 1/21/2020 Cate, Matthew        Appear at court for hearing.                                                           1.80 540.00 $ 972.00
 2/24/2020 Cate, Matthew        Review and analyze order granting motion to dismiss and granting anti-SLAPP            0.70 540.00 $ 378.00
                                motion.
                                                                                                                      85.20         41,822.00


  3/2/2020 Cate, Matthew        Conduct legal research in support of motion for fees.                                  2.00 540.00 $1,080.00
  3/2/2020 Cate, Matthew        Confer with R. Gutierrez about motion strategy.                                        0.90 540.00 $ 486.00
  3/4/2020 Cate, Matthew        Review billing entries in support of motion for fees                                   1.40 540.00     756.00
  3/5/2020 Cate, Matthew        Prepare motion for fees                                                                7.20 540.00   3,888.00
                                                                                                                      11.50          6,210.00


Work Date Attorney/Paralegal                                       Narrative                                          Hrs. Rate    Amount
 12/9/2019 Gutierrez, Robert S Research docket to begin review and analysis of pleadings filed to date                0.60 725.00 $ 435.00

12/10/2019 Gutierrez, Robert S Review and analyze Plaintiff's Opposition to Defendant's Special Motion to Strike       0.30 725.00 $ 217.50

12/10/2019 Gutierrez, Robert S Review and analyze Dorfman's Reply in support of Motion to Dismiss                      0.20 725.00 $ 145.00

12/10/2019 Gutierrez, Robert S Review and analyze Plaintiff's Opposition to Defendant's Motion to Dismiss              0.40 725.00 $ 290.00

12/10/2019 Gutierrez, Robert S Review and analyze Dorfman's Motion to Dismiss                                          0.90 725.00 $ 652.50
12/10/2019 Gutierrez, Robert S Review and analyze First Amended Complaint & exhibits                                   0.70 725.00 $ 507.50

12/10/2019 Gutierrez, Robert S Telephone call with Matt Cate re: case status and case strategy                         0.30 725.00 $ 217.50

12/10/2019 Gutierrez, Robert S Review and analyze Dorfman's Special Motion to Strike                                   0.50 725.00 $ 362.50

12/10/2019 Gutierrez, Robert S Review 12/10/19 Matt Cate emails re: call to discuss case status and strategy, and      0.20 725.00 $ 145.00
                               draft response
12/10/2019 Gutierrez, Robert S Review Declaration of Daniela C. Barahona in Support of Plaintiff's Opposition to       0.20 725.00 $ 145.00
                               Defendant's Special Motion to Strike and Motion to Dismiss

12/10/2019 Gutierrez, Robert S Review Declaration of Matt Cate in support of Request for Judicial Notice in Support    0.20 725.00 $ 145.00
                               of Special Motion to Strike and Motion to Dismiss

12/10/2019 Gutierrez, Robert S Review and analyze Second Amended Complaint                                             0.40 725.00 $ 290.00
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12/10/2019 Gutierrez, Robert S Review and analyze Order Granting Motion to Dismiss with leave to amend; Denying     0.70 725.00 $ 507.50
                               Anti-SLAPP Motion to Strike Without Prejudice

12/10/2019 Gutierrez, Robert S Review and analyze Dorfman's Reply in support of Special Motion to Strike            0.30 725.00 $ 217.50

12/11/2019 Gutierrez, Robert S Based on review of Second Amended Complaint, analyze issues to be addressed in       1.40 725.00 $1,015.00
                               second Special Motion to Strike

12/16/2019 Gutierrez, Robert S Review, analyze and revise Dorfman's Motion to Dismiss Second Amended                4.80 725.00 $3,480.00
                               Complaint
12/16/2019 Gutierrez, Robert S Review 12/16/19 Matthew Cate emails re: Dorfman's Motion to Dismiss Second           0.60 725.00 $ 435.00
                               Amended Complaint and Special Motion to Strike, and draft responses

12/16/2019 Gutierrez, Robert S Review transcript of 10/29/19 hearing on Dorfman's Motion to Dismiss and Special     0.40 725.00 $ 290.00
                               Motion to Strike
12/16/2019 Gutierrez, Robert S Review, analyze and revise Dorfman's Request for Judicial Notice, and review         0.30 725.00 $ 217.50
                               related documents for which judicial notice is sought

12/17/2019 Gutierrez, Robert S Review, analyze and revise Declaration of Matt Cate in support of Request for        0.20 725.00 $ 145.00
                               Judicial Notice
12/17/2019 Gutierrez, Robert S Review final drafts of Dorfman's second motion to dismiss and second special         1.20 725.00 $ 870.00
                               motion to strike
12/17/2019 Gutierrez, Robert S Draft emails to Matt Cate re: Dorfman's second special motion to strike and          0.80 725.00 $ 580.00
                               supporting documents, and review responses

12/17/2019 Gutierrez, Robert S Review, analyze and revise Dorfman's second special motion to strike                 1.40 725.00 $ 1,015.00

  1/3/2020 Gutierrez, Robert S Review and analyze Peak Health Center's Oppositions to Dorfman's Motion to           0.50 725.00 $ 362.50
                               Dismiss Second Amended Complaint and Special Motion to Strike Second Amended
                               Complaint, and Declaration of Amiel Wade

  1/3/2020 Gutierrez, Robert S Review 1/3/20 Matt Cate email re: Peak Health Center's Opposition to Dorfman's       0.20 725.00 $ 145.00
                               special motion to strike Second Amended Complaint, and draft response

  1/6/2020 Gutierrez, Robert S Review 1/6/20 Matt Cate email re: status of Dorfman's reply brief in support of      0.20 725.00 $ 145.00
                               second special motion to strike and dismiss, and draft response

  1/7/2020 Gutierrez, Robert S Review filed version of Dorfman's Reply brief in support of motion to dismiss and    0.20 725.00 $ 145.00
                               special motion to strike Second Amended Complaint
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 1/7/2020 Gutierrez, Robert S Review 1/7/29 Matt Cate emails re: Dorfman's Reply brief in support of motion to     0.20 725.00 $ 145.00
                              dismiss and special motion to strike Second Amended Complaint, and draft
                              responses

 1/7/2020 Gutierrez, Robert S Review, analyze and revise Dorfman's Reply brief in support of motion to dismiss     1.00 725.00 $ 725.00
                              and special motion to strike Second Amended Complaint

1/17/2020 Gutierrez, Robert S Telephone call with Matt Cate re: 1/21/20 hearing on Dorfman's motion to dismiss     0.20 725.00 $ 145.00
                              and special motion to strike Second Amended Complaint

1/21/2020 Gutierrez, Robert S Review 1/21/20 Matt Cate email summarizing 1/21/20 hearing on Dorfman's motion       0.50 725.00 $ 362.50
                              to dismiss and special motion to strike Second Amended Complaint, research issue
                              of attorneys' fees award for partial success on anti-SLAPP motion, and draft
                              response

2/24/2020 Gutierrez, Robert S Review 2/24/20 Order Granting Motion to Dismiss Second Amended Complaint;            0.40 725.00 $ 290.00
                              Granting Anti-SLAPP Motion to Strike

                                                                                                                  20.40          14,790.00


 3/2/2020 Gutierrez, Robert S Review 3/2/20 Matt Cate emails re: issues pertaining to Dorfman’s motion for         0.40 725.00 $ 290.00
                              attorneys’ fees, and draft responses

                              Review 3/2/20 Matt Cate emails re: issues pertaining to Dorfman’s motion for
 3/2/2020 Gutierrez, Robert S                                                                                      0.40 725.00     290.00
                              attorneys’ fees, and draft responses
                              Review 3/4/20 Matt Cate email re: Dorfman's motion for attorneys' fees, and draft
 3/4/2020 Gutierrez, Robert S                                                                                      0.20 725.00     145.00
                              response
                              Review, analyze and revise Dorfman's motion for attorneys' fees and supporting
 3/6/2020 Gutierrez, Robert S                                                                                      1.10 725.00     797.50
                              declaration of Matt Cate
                              Review 3/6/20 Matt Cate emails re: Dorfman's motion for attorneys' fees and
 3/6/2020 Gutierrez, Robert S                                                                                      0.30 725.00     217.50
                              supporting declarations, and draft responses
                                                                                                                   2.40           1,740.00
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Work Date Attorney/Paralegal                                           Narrative                                      Hrs.   Rate   Amount
                               Research case histories and review citations and quotations in motion to dismiss for
12/17/2019 Relyea, Ryan R                                                                                              1.8    280       504
                               accuracy.
12/17/2019 Relyea, Ryan R      Draft and revise tables of authorities and contents for motion to dismiss.              0.7    280       196
                               Research case histories and review citations and quotations in anti-SLAPP motion
12/17/2019 Relyea, Ryan R                                                                                              1.4    280       392
                               for accuracy.
12/17/2019 Relyea, Ryan R      Review and revise request for judicial notice.                                          0.5    280       140
                               Review and prepare motion to dismiss, anti-SLAPP motion, and request for judicial
12/17/2019 Relyea, Ryan R                                                                                              0.5    280       140
                               notice for filing.
                                                                                                                      4.90          1,372.00
